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 1
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 7

 8                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
 9                                SAN FRANCISCO DIVISION

10    IN RE: ROUNDUP PRODUCTS                     MDL No. 2741
      LIABILITY LITIGATION
11                                                Case No. 3:16-md-02741-VC

12                                                DEFENDANT BAYER
     This document relates to:                    CROPSCIENCE LLC’S NOTICE
13                                                OF RENEWED MOTION TO
     Jeanne Rutman et al. v. Bayer CropScience    SET ASIDE CLERK’S DEFAULT
     LLC, Case No. 3:24-cv-06751-VC
14                                                AND MOTION TO DISMISS
                                                  Hearing:
15
                                                  Date: January 16, 2024
16                                                Time: 10:00 a.m.
17                                                Place: San Francisco Courthouse,
                                                  Courtroom 4 – 17th Floor
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                DEFENDANT BAYER CROPSCIENCE LLC’S RENEWED MOTION
28
                 TO SET ASIDE CLERK’S DEFAULT AND MOTION TO DISMISS
                            3:16-md-02741-VC & 3:24-cv-06751-VC
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 1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE THAT on January 16, 2024 at 10:00 a.m. in Courtroom 4 of the

 3   United States District Court, Northern District of California, located at 450 Golden Gate Avenue,

 4   San Francisco, CA 94102, or as ordered by the Court, Defendant Bayer CropScience LLC will

 5   present its Renewed Motion to Set Aside Clerk’s Default and Motion to Dismiss. Pursuant to Rule

 6   55 of the Federal Rules of Civil Procedure, Bayer CropScience LLC seek an order setting aside the

 7   Clerk’s Default entered in this case. Pursuant to Rules 12(b)(2), 12(b)(5), and 4(m) of the Federal

 8   Rules of Civil Procedure, Bayer CropScience LLC seeks an order dismissing Plaintiffs Jeanne and

 9   Robert Rutman’s Complaint.

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28                                          -2-
                  DEFENDANT BAYER CROPSCIENCE LLC’S RENEWED MOTION
                   TO SET ASIDE CLERK’S DEFAULT AND MOTION TO DISMISS
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                         DEFENDANT BAYER CROPSCIENCE LLC’S
 1                   RENEWED MOTION TO SET ASIDE CLERK’S DEFAULT
 2          Pursuant to Federal Rule of Civil Procedure 55 and Pretrial Order 1 (In re Roundup Prods.
 3   Liab. Litig., Dkt. No. 2, No. 3:16-md-02741-VC (N.D. Cal.)),1 Defendant Bayer CropScience LLC
 4   (incorrectly named in the Amended Complaint as “Bayer CropScience LLC, (Formerly Monsanto)”),
 5   by and through its counsel, hereby moves for an order setting aside the Entry of Default entered
 6   August 20, 2024 in the Southern District of Ohio (Dkt. No. 14). In light of American Association of
 7   Naturopathic Physicians v. Hayhurst, 227 F.3d 1104 (9th Cir. 2000), as amended on denial of reh’g
 8   (Nov. 1, 2000), Bayer CropScience LLC also moves for an order dismissing Plaintiffs’ Complaint
 9   pursuant to Federal Rules of Civil Procedure 12(b)(2), 12(b)(5), and 4(m).
10
                                                Introduction
11
            Prior to this case’s transfer to this Court, an Entry of Default was entered against Bayer
12
     CropScience LLC. But Bayer CropScience LLC is simply not in default. It has not even been
13
     properly served with process. Plaintiffs procured an Entry of Default by (1) refusing to communicate
14

15   with Bayer CropScience LLC’s counsel until after seeking a default, (2) ignoring clear and

16   irrefutable (public record) evidence that service is improper, and (3) presenting the Court with an

17   incomplete and misleading record of this case’s brief history. The Entry of Default was also
18
     improper as a matter of law because Plaintiffs did not sufficiently prove either service of process or
19
     default. See FED. R. CIV. P. 4(l), FED. R. CIV. P. 55(a). The request for a default should never have
20
     been made, and the Entry of Default should not have been entered. Moreover, even if the Court
21
     disagrees, Bayer CropScience LLC’s attempts to communicate with Plaintiffs’ counsel and good-
22

23

24
     1
       This Motion was originally made on August 27, 2024—the day after entry of the Clerk’s Default
25
     at issue. See Dkt. Nos. 14–15. It was reasserted on November 8 2024, in light of PTO 1 and also to
26   provide citations to now-applicable Ninth Circuit authority. Bayer CropScience LLC inadvertently
     failed the Renewed Motion in the master docket, however and is therefore filing this updated version
27   to comply with PTO 1.
28                                          -3-
                  DEFENDANT BAYER CROPSCIENCE LLC’S RENEWED MOTION
                   TO SET ASIDE CLERK’S DEFAULT AND MOTION TO DISMISS
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     faith belief that service was improper constitutes good cause to set aside the Entry of Default. See
 1

 2   FED. R. CIV. P. 55(c).

 3           The Ninth Circuit has seemingly held that a Rule 55 motion raising the issue of improper

 4   service also functions as a Rule 12 motion—even if it does not include a request for dismissal—
 5
     thus requiring the Rule 55 movant to make all available Rule 12(b)(2)–(5) arguments, or be deemed
 6
     to have waived them. See Am. Ass’n of Naturopathic Physicians v. Hayhurst, 227 F.3d 1104 (9th
 7
     Cir. 2000), as amended on denial of reh’g (Nov. 1, 2000). Accordingly, Bayer CropScience also
 8
     requests dismissal based on the absence of personal jurisdiction, see Fed. R. Civ. P. 12(b)(2), and
 9

10   the lack of proper service, see Fed. R. Civ. P. 12(b)(5); Fed. R. Civ. P. 4(m).

11           This case was originally filed within Ohio, so Plaintiffs’ claims can proceed only if courts
12   in Ohio would have personal jurisdiction over Bayer CropScience LLC. Courts in Ohio lack general
13
     jurisdiction over Bayer CropScience LLC because Bayer CropScience LLC is not incorporated in
14
     that State, does not have its principal place of business in that State, and is indeed not even registered
15
     to do business in that State. Further, Bayer CropScience LLC has never researched, designed, tested,
16

17   developed, manufactured, packaged, marketed, promoted, advertised, distributed, labeled, sold, or

18   provided warnings for Roundup®-branded herbicides and does not distribute, sell, or supply any

19   products in or to the State of Ohio. Accordingly, Plaintiffs’ claims do not arise out of or relate to
20   Bayer CropScience LLC’s (nonexistent) Ohio contacts, meaning specific jurisdiction is absent, too.
21
             Dismissal is required under Rule 12(b)(5) for two reasons. First, and most basically,
22
     dismissal is warranted for the same reason that Bayer CropScience LLC is not in default:
23
     “insufficient service of process.” FED. R. CIV. P. 12(b)(5). Second, because this case was filed 422
24

25   days ago—and because 283 days passed before Plaintiffs even attempted to serve Bayer

26   CropScience LLC with process—Rule 4(m) also calls for dismissal.

27

28                                           -4-
                   DEFENDANT BAYER CROPSCIENCE LLC’S RENEWED MOTION
                    TO SET ASIDE CLERK’S DEFAULT AND MOTION TO DISMISS
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                                             BACKGROUND
 1

 2          1.     While essentially all of the lawsuits in the Roundup®-related litigation name

 3   Monsanto Company as a defendant, this case does not. Instead, it names as a defendant Bayer

 4   CropScience LLC—an affiliate of Monsanto Company that does not (and has never) undertaken
 5
     any activities pertaining to Roundup®-branded products and is instead a non-operating holding
 6
     company. See Declaration of Brian Naber, ¶¶ 9–12 (Exhibit 1).
 7
            2.     Bayer CropScience LLC is a Delaware Limited Liability Company with its principal
 8
     place of business in Missouri. Id. ¶¶ 5–6. Bayer CropScience LLC is not registered to do business
 9

10   in Ohio and has no Ohio registered agent.2 Id. ¶ 7.

11          3.     Plaintiffs originally filed their Complaint in this matter on October 16, 2023. Dkt.
12   No. 1. Plaintiffs never attempted to serve Bayer CropScience LLC with the original Complaint.
13
            4.     More than 90 days later, on January 29, 2024, Plaintiffs filed their Amended
14
     Complaint. Dkt. No. 3.
15
            5.     On July 29, 2024—178 days after the filing of the Amended Complaint and 283 days
16

17   after the filing of the original Complaint—Plaintiffs represented that Defendant Bayer CropScience

18   LLC had been served with the summons and Amended Complaint on July 25, 2024 by filing a return

19   of service indicating that the documents had been sent to, and received by, Corporation Service
20   Company in Columbus, Ohio. Dkt. No. 11.
21
            6.     As discussed above, Bayer CropScience LLC is not registered to do business in the
22
     State of Ohio and has no registered agent for service of process in the State of Ohio. A different
23

24
     2
       This can be confirmed by searching the public records maintained by the Ohio Secretary of State.
25
     See https://businesssearch.ohiosos.gov; see also OHIO REV. CODE § 1706.09(C) (requiring the
26   Secretary of State to “keep a record of the names of limited liability companies and foreign limited
     liability companies, and the names and addresses of their respective agents”). Bayer CropScience
27   LP, by contrast, is registered to do business in the State of Ohio and does have a registered agent.
28                                          -5-
                  DEFENDANT BAYER CROPSCIENCE LLC’S RENEWED MOTION
                   TO SET ASIDE CLERK’S DEFAULT AND MOTION TO DISMISS
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     entity, Bayer CropScience LP, is registered to do business in the State of Ohio, and its registered
 1

 2   agent is Corporation Service Company in Columbus, Ohio. See OHIO SECRETARY OF STATE, BAYER

 3   CROPSCIENCE LP DETAILS, accessed Aug. 21, 2024 (Exhibit 2).

 4          7.       Plaintiffs thus served a Summons and Amended Complaint directed to Bayer
 5
     CropScience LLC on Bayer CropScience LP’s registered agent. Corporation Service Company
 6
     processed the documents on behalf of Bayer CropScience LP. See Service Correspondence and
 7
     Monsanto Company’s Notice of Tag-Along Actions (Aug. 15, 2024), Doc. 3554-3 at 3 (Exhibit
 8
     3).3
 9

10          8.       After receiving a copy of the summon and complaint, Defendants’ counsel in the

11   Roundup®-related litigation attempted to communicate with counsel for Plaintiffs:
12                  On August 14, 2024, acting on behalf of Bayer CropScience LLC and Monsanto
13                   Company, counsel emailed Plaintiffs’ counsel, providing information regarding the
                     broader Roundup®-related litigation and the relationships between various corporate
14                   affiliates. Based on this information, counsel requested (1) the voluntary dismissal of
                     Bayer CropScience LLC (to be substituted with Monsanto Company, the proper
15
                     defendant), and (2) an extension to allow for the case’s impending transfer to this
16                   Court and the Roundup® MDL. Plaintiffs’ counsel did not respond. See Email
                     correspondence between Ryan Killian and Jared Brankamp (Aug. 14–20, 2024)
17                   (Exhibit 4).
18                  Counsel tried to call Plaintiffs’ counsel on August 15, 2024, then emailed Plaintiffs’
                     counsel again that same day, providing his cell phone number. Plaintiffs’ counsel
19
                     neither returned the call nor responded to the email. See id.
20                  Later that same day, after an analysis confirmed that service was improper, Bayer
21                   CropScience LLC’s counsel emailed Plaintiffs’ counsel yet again, noting that the lack
                     of proper service negated the need for any extension and offering to “address service
22                   later.” Plaintiffs’ counsel did not respond. See id.
23
     3
       The cited “transmittal form” shows that the “Entity” upon whose behalf Corporation Service
24   Company is acting is “Bayer CropScience LP.” As shown by the disclaimer, Bayer CropScience
     LP’s registered agent did not make any independent assessment regarding the validity of service or
25
     other legal issues raised by receipt of the documents: “Information contained on this transmittal
26   form is for record keeping, notification and forwarding the attached document(s). It does not
     constitute a legal opinion. The recipient is responsible for interpreting the documents and taking
27   appropriate action.”
28                                             -6-
                     DEFENDANT BAYER CROPSCIENCE LLC’S RENEWED MOTION
                      TO SET ASIDE CLERK’S DEFAULT AND MOTION TO DISMISS
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             9.     This case was tagged for transfer to the Roundup® MDL on August 15, 2024, and
 1

 2   Plaintiffs were served with the associated Notice of Tag-Along Action, filed by Monsanto

 3   Company. See Exh. 3.

 4           10.    That same day, Corporation Service Company provided Plaintiffs with a “Rejection
 5
     of Service of Process” related to the purported service in this case. See Rejection of Service of
 6
     Process (Aug. 15, 2024) (Exhibit 5).
 7
             11.    On August 19, 2024, the United States Judicial Panel on Multidistrict Litigation
 8
     entered Conditional Transfer Order 475 (“CTO 475”), conditionally transferring this to the Northern
 9

10   District of California for pretrial proceedings pursuant to 28 U.S.C. § 1407. See CTO 475 (Exhibit

11   6).
12           12.    Despite being informed multiple times that service was improper, and despite the
13
     entry of CTO 475, Plaintiffs filed their Motion for Entry of Default by Clerk later in the day on
14
     August 19. Dkt. No. 12. Only after doing so did Plaintiffs’ counsel respond to counsel for Bayer
15
     CropScience LLC, informing him of the filing at 6:02 PM. See Exh. 4.
16

17           13.    Counsel for Bayer CropScience LLC responded 30 minutes later, providing a copy of

18   the Corporation Service Company service-rejection letter, and explaining why service was not

19   proper. See id. Counsel further pointed out that Plaintiffs’ theory of service could not be ascertained
20   because Plaintiffs had cited only an inapplicable Federal Rule of Bankruptcy Procedure in their
21
     Motion for Entry of Default by Clerk. Id. Finally, counsel asked Plaintiffs to withdraw the request
22
     for the default. Id.
23
             14.    The next morning, August 20, counsel for Plaintiffs responded with a series of
24

25   questions—some of which had already been answered in the communications and documentation

26   that Plaintiffs’ counsel previously chose to ignore, others that appear to be rhetorical. See id. Then,

27

28                                           -7-
                   DEFENDANT BAYER CROPSCIENCE LLC’S RENEWED MOTION
                    TO SET ASIDE CLERK’S DEFAULT AND MOTION TO DISMISS
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     without waiting for a response, Plaintiffs’ counsel filed the Application for Entry of Default by
 1

 2   Clerk. Dkt. No. 13.

 3          15.    The Application for Entry of Default by Clerk again cited an inapt rule and was

 4   accompanied by an unsworn, purported affidavit from Plaintiffs’ counsel stating that service was
 5
     made “in accordance with Federal Rule of Civil Procedure 55(a),” though that rule relates to default,
 6
     not service. Dkt. No. 13 at 2. It also presents a new theory of service, claiming that service was
 7
     made “by serving Monsanto Company and Bayer CropScience LLC and its Attorney, Ryan Killian,
 8
     through Corporation Service Company, 1160 Dublin Rd., Suite 400, Columbus, OH 43215.”4 Id.
 9

10          16.    Plaintiffs purported to support their claim that service was made on Bayer

11   CropScience LLC, through its attorney somehow, by attaching a copy of the August 14 email from
12   Bayer CropScience LLC that Plaintiffs ignored. See id. at 4. Plaintiffs did not tell the Court that
13
     both that same attorney and Corporation Service Company had informed them, in writing, that
14
     service was improper.
15
            17.    The Entry of Default (a clerk’s default) was entered later on August 20. Dkt. No. 14.
16

17          18.    Bayer CropScience LLC filed its Motion to Set Aside Default the next day, on August

18   21, 2024. Dkt. No. 15.

19          19.    This case was then transferred to this Court and consolidated with the In re Roundup
20   Prods. Liab. Litig., No. 3:16-md-02741-VC, multi-district litigation.
21
            20.    Bayer CropScience LLC’s Motion to Set Aside Default remains pending. Plaintiffs
22
     have not filed any response.
23

24

25
     4
26    Monsanto Company and Bayer CropScience LLC are distinct legal entities. Exh. 1, ¶ 14. Monsanto
     Company is not a defendant in this lawsuit, and Monsanto Company has not been served with
27   process, or anything else, in this case.
28                                          -8-
                  DEFENDANT BAYER CROPSCIENCE LLC’S RENEWED MOTION
                   TO SET ASIDE CLERK’S DEFAULT AND MOTION TO DISMISS
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                                           ISSUES TO BE DECIDED
 1

 2                  Whether the Court should set aside the Clerk’s Default entered August 20, 2024. See

 3                   FED. R. CIV. P. 55.

 4                  Whether this case should be dismissed for lack of personal jurisdiction. See FED. R.
 5
                     CIV. P. 12(b)(2).
 6
                    Whether this case should be dismissed for lack of proper service. See FED. R. CIV. P.
 7
                     12(b)(4); FED. R. CIV. P 4(m).
 8

 9                                              ARGUMENT5

10       I.       Renewed Rule 55 Motion to Set Aside Clerk’s Default

11                A. Bayer CropScience LLC is not in default, and the Entry of Default was improper.

12                1. Because there was no proper service, there was no default and no jurisdiction to
                     enter a default.
13
              “A federal court does not have jurisdiction over a defendant unless the defendant has been
14
     served properly under Fed.R.Civ.P. 4.” Direct Mail Specialists, Inc. v. Eclat Computerized Techs.,
15

16   Inc., 840 F.2d 685, 688 (9th Cir. 1988). “Where a clerk’s entry of default was entered despite

17   improper service of process, there is good cause to set aside the default as void.” Navarrette v. Wren,
18   No. 3:22-CV-0006-LL-AHG, 2022 WL 11128279, at *2 (S.D. Cal. Oct. 19, 2022), report and
19

20
     5
       The Sixth Circuit has held that a defendant does not waive its personal jurisdiction defense by
21
     moving to set aside a clerk’s default. See, e.g., Gerber v. Riordan, 649 F.3d 514, 520 (6th Cir. 2011).
22   The Ninth Circuit has held that a motion brought pursuant to Rule 55 can waive a personal-
     jurisdiction objection if the movant (1) “assert[s] insufficiency of service of process” and (2) does
23   “not assert the defense of lack of personal jurisdiction.” Hayhurst, 227 F.3d at 1107–08. Unlike in
     Hayhurst, Bayer CropScience LLC did emphatically “object to personal jurisdiction,” see id. at
24   1108, in its original Rule 55 Motion. However, Hayhurst could be read to require more in the form
     of an affirmative request for dismissal under Rule 12(b)(2). See id. at 1107 (“[I]f Hayhurst raised
25
     any Rule 12 defenses in his first filing to the court, he was obliged to raise all of those specified in
26   Rule 12(h).”). While Bayer CropScience LLC does not believe that a Rule 55 movant demonstrating
     the absence of service of process—and thus the absence of default—inherently proceeds under Rule
27   12, it now presents its Rule 12(b)(2) and Rule 12(b)(5) arguments in an abundance of caution.
28                                            -9-
                    DEFENDANT BAYER CROPSCIENCE LLC’S RENEWED MOTION
                     TO SET ASIDE CLERK’S DEFAULT AND MOTION TO DISMISS
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     recommendation adopted, No. 22CV006-LL-AHG, 2022 WL 21769860 (S.D. Cal. Nov. 23, 2022);
 1

 2   see also McCain v. California Highway Patrol, No. 2:11-CV-01265 KJM, 2011 WL 5169372, at

 3   *3 (E.D. Cal. Oct. 28, 2011) (collecting cases). This is “a bedrock principle: An individual or entity

 4   named as a defendant is not obliged to engage in litigation unless notified of the action, and brought
 5
     under a court’s authority, by formal process.” Murphy Bros. v. Michetti Pipe Stringing, Inc., 526
 6
     U.S. 344, 347 (1999). Thus, a court must set aside a default when the defendant was not properly
 7
     served. See Mason v. Genisco Tech. Corp., 960 F.2d 849, 851 (9th Cir. 1992). Absent proper service,
 8
     the Court lacked both a substantive basis and jurisdiction to enter a default in this case.
 9

10             Plaintiffs’ requests for entry of a default cite inapplicable rules, making it impossible to

11   confidently ascertain the basis of their claim that Bayer CropScience LLC was properly served with
12   the summons and complaint in this case. (See Dkt. No. 12 (citing FED. R. BANK. P. 7004); Dkt. No.
13
     13 (citing FED. R. CIV. P. 55).) The document purportedly showing that the summons was returned
14
     executed, however, includes a handwritten reference to “Rule 4.2.” (Dkt. No. 11.) There is no Rule
15
     4.2 of the Federal Rules of Civil Procedure, but (1) Rule 4.2 of the Ohio Rules of Civil Procedure
16

17   governs service, (2) Rule 4(e)(1) of the Federal Rules of Civil Procedure permits service on an

18   individual in accordance with “state law,” and (3) Rule 4(h)(1)(A) of the Federal Rules of Civil

19   procedure makes this method generally available in the case of business entities as well. Thus,
20   Plaintiffs apparently attempted service under Ohio Rule 4.2.
21
               Ohio Rule 4.2(G) provides the rule specific to limited liability companies like Bayer
22
     CropScience LLC. Service upon limited liability companies may be effectuated by mailing the
23
     summons and complaint6 to “the agent authorized by appointment or by law to receive service of
24

25   process; or by serving the limited liability company at any of its usual places of business by a method

26
     6
27       See OHIO R. CIV. P. 4.1(A)(1)(a).
28                                            - 10 -
                    DEFENDANT BAYER CROPSCIENCE LLC’S RENEWED MOTION
                     TO SET ASIDE CLERK’S DEFAULT AND MOTION TO DISMISS
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     authorized under Civ.R. 4.1(A)(1); or by serving a manager or member.” (Emphasis added.)
 1

 2   Plaintiffs did not purport to serve any “manager or member” of Bayer CropScience LLC. Nor did

 3   Plaintiffs purport to serve Bayer CropScience LLC at “its usual places of business.” Rather,

 4   Plaintiffs purported to serve Bayer CropScience LLC through “the agent authorized by appointment
 5
     or by law to receive service of process.”
 6
             Service via a limited liability company’s registered agent is governed more specifically by
 7
     Ohio Rev. Code § 1706.09(H), which provides that service of process must be made “[b]y delivering
 8
     a copy of the process . . . to the address of the agent in this state as contained in the records of the
 9

10   secretary of state.” (Emphasis added.); see also McKesson Corp. v. Benzer OH 6 LLC, No. 8:24-

11   CV-1396-WFJ-SPF, 2024 WL 3495039, at *1 (M.D. Fla. July 22, 2024) (citing this provision in
12   observing that “service of process on limited liability company in Ohio may be accomplished by
13
     delivering a copy of the process to the address of the limited liability company’s registered agent”).
14
     As a foreign limited liability company, however, Bayer CropScience LLC would only be obligated
15
     to have a Section 1706.09 “statutory agent” if it operated in Ohio. See OHIO REV. CODE § 1706.511
16

17   (requiring foreign limited liability companies that operate in this State to “register with the secretary

18   of state”).

19           Bayer CropScience LLC does not operate in Ohio, and is thus not registered to do business
20   there, see Exh. 1, ¶ 7, as demonstrated by a search of publicly available Ohio Secretary of State
21
     records.7 It thus has no registered agent for service of process in Ohio. OHIO REV. CODE
22
     § 1706.09(A). “[T]he records of the secretary of state” are conclusive, OHIO REV. CODE
23
     § 1706.09(H), and show that Corporation Service Company in Columbus, Ohio is not “authorized
24

25
     7
26     See https://businesssearch.ohiosos.gov; see also OHIO REV. CODE § 1706.09(C) (requiring the
     Secretary of State to “keep a record of the names of limited liability companies and foreign limited
27   liability companies, and the names and addresses of their respective agents”).
28                                           - 11 -
                   DEFENDANT BAYER CROPSCIENCE LLC’S RENEWED MOTION
                    TO SET ASIDE CLERK’S DEFAULT AND MOTION TO DISMISS
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     by appointment or by law” to receive service on Bayer CropScience LLC’s behalf, see OHIO R. CIV.
 1

 2   P. 4.2(G). Thus, Plaintiffs did not satisfy either Ohio Rule 4.2(g) or Section 1706.09(H) when

 3   mailing process in this case to Corporation Service Company in Columbus, Ohio—as was separately

 4   confirmed by that organization’s subsequent written rejection of service. See Exh. 5.
 5
            As noted above, Plaintiffs’ theory of service is unclear. For example, their most recent filing
 6
     seems to suggest that service was somehow effectuated through Bayer CropScience LLC’s outside
 7
     counsel. See Dkt. No. 13 at 2. In Reply, Bayer CropScience LLC will address whatever theory of
 8
     service Plaintiffs articulate, but it is already clear that whatever method Plaintiffs will claim to have
 9

10   pursued is not authorized by law and is, therefore, necessarily invalid. See, e.g., Galyean v. One W.

11   Bank FSB, No. C10-827 MJP, 2010 WL 3894464, at *2 (W.D. Wash. Sept. 29, 2010) (finding
12   service of process “defective” where plaintiff alleged service through a third party but “fail[ed] to
13
     provide any evidence showing that [the recipient was] an agent of [the defendant] who [wa]s
14
     qualified to receive service on its behalf”); Gliozzo v. Univ. Urologists of Cleveland, Inc., 870
15
     N.E.2d 714, 718 (Ohio 2007) (“The obligation is upon plaintiffs to perfect service of process;
16

17   defendants have no duty to assist them in fulfilling this obligation.”).

18          Service was improper, which means the Entry of Default must be set aside as “void.” See

19   Dorr v. Alameda Cnty. Prob. Dep’t, No. C-11-04477 DMR, 2012 WL 423745, at *3 (N.D. Cal. Feb.
20   8, 2012); Wallace v. Interpublic Grp. of Companies, Inc., No. 09-11510, 2009 WL 1856543, at *3
21
     (E.D. Mich. June 29, 2009) (finding that service “by certified mail to CSC at a time when CSC was
22
     no longer Defendant’s resident agent” meant that “service was improper and the default must
23
     therefore be set aside”).
24

25             2. As a matter of law, Plaintiffs failed to prove both service of process and default.

26          Plaintiffs did not merely fail to achieve service, they also failed to prove either that service

27   was achieved or that Bayer CropScience LLC is in default. Federal Rule of Civil Procedure 4(l) is
28                                          - 12 -
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     entitled “Proving Service.” “Unless service is waived, proof of service must be made to the court,”
 1

 2   and unless made “by a United States marshal or deputy marshal, proof must be by the server’s

 3   affidavit.” FED. R. CIV. P. 4(l)(1). Similarly, a default may not be entered unless the defendant’s

 4   “failure is shown by affidavit or otherwise.” FED. R. CIV. P. 55(a).
 5
            As discussed above, proper service is a prerequisite to default. Plaintiffs never proved proper
 6
     service, however. There is no document on the docket that could be considered an affidavit proving
 7
     service for purposes of Rule 4(l)(1). The only purported “affidavit” in the record is the attorney
 8
     “affidavit” attached to the Plaintiffs’ Application for Entry of Default by Clerk. (Dkt. No. 13 at 2.)
 9

10   That document is not sworn, however, meaning it is not an affidavit. See Young v. Allstate Co., 662

11   F. Supp. 3d 1066, 1072 (C.D. Cal. 2023) (distinguishing between “sworn affidavits” and “unsworn
12   declarations”).
13
            To have evidentiary value—and be treated as an affidavit for purposes of federal rules and
14
     statutes—the purported affidavit would have to comply with 28 U.S.C § 1746, “Unsworn
15
     declarations under penalty of perjury.” The sine qua non of an adequate Section 1746 declaration is
16

17   the attestation that it is made under penalty of perjury. See, e.g., Shepard v. Quillen, 840 F.3d 686,

18   687 n.1 (9th Cir. 2016) (staging that under Section 1746, “unsworn statements are admissible as

19   long as attested to under penalty of perjury”). The purported “affidavit” ostensibly supporting
20   Plaintiffs’ Application for Entry of Default by Clerk was not made under penalty of perjury,
21
     however, and therefore has no evidentiary value. See Young, 662 F. Supp. 3d at 1072.
22
            There is no proof of service in this case and, therefore, no evidence of default. The Entry of
23
     Default should not have been entered for this additional reason.
24

25

26

27

28                                          - 13 -
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               B. If the Court were inclined to find service proper for any reason, Bayer
 1                CropScience LLC requests that the Court exercise its discretion to set aside the
 2                Entry of Default.

 3           Bayer CropScience LLC has shown that it was not served properly. Bayer CropScience LLC

 4   also established that before any responsive pleading purportedly came due, and before Plaintiffs
 5   ever sought a default, it tried to communicate with Plaintiffs—attempting in vain to correct attorney
 6
     errors that will ultimately prove case dispositive and specifically informing Plaintiffs’ counsel of
 7
     the lack of proper service. See Exh. 4. In the unlikely event the Court were to find service proper,
 8
     these circumstances support setting aside of the default as a discretionary matter.
 9

10           If the entry of default were legally permissible, it could still be set aside for “good cause

11   shown.” FED. R. CIV. P. 55(c). “In assessing whether to set aside a default for good cause, a court

12   looks to whether ‘(1) the plaintiff would be prejudiced if the judgment is set aside, (2) defendant
13   has no meritorious defense, or (3) the defendant’s culpable conduct led to the default.’” Coen Co.,
14
     Inc. v. Pan Int’l, Ltd., 307 F.R.D. 498, 503 (N.D. Cal. 2015) (quoting In re Hammer, 940 F.2d 524,
15
     525–26 (9th Cir. 1991)). While any single factor can justify refusal to set aside a default, “the Ninth
16
     Circuit has consistently emphasized that “judgment by default is a drastic step appropriate only in
17

18   extreme circumstances; a case should, whenever possible, be decided on the merits.’” Id. (quoting

19   Falk v. Allen, 739 F.2d 461, 463 (9th Cir.1984)). Here, each of the three factors weigh in favor of

20   setting aside the clerk’s default.
21
             (1)   Delayed resolution of a case is not cognizable prejudice in this context. United States
22
     v. Signed Pers. Check No. 730 of Yubran S. Mesle, 615 F.3d 1085, 1095 (9th Cir. 2010). Rather,
23
     “[t]he standard is whether [Plaintiffs’] ability to pursue [their] claim will be hindered.” Falk, 739
24
     F.2d at 463. Plaintiffs here can show no sort of prejudice. Indeed, as discussed below, the delays
25

26   impeding this case’s progress are all attributable to Plaintiffs’ own failure to serve. Moreover, the

27   default was entered because Plaintiffs decided to ignore communications from the defense along
28                                           - 14 -
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     with conclusive evidence that service was improper. Bayer CropScience LLC, by contrast acted
 1

 2   diligently to prevent the erroneous entry of a default and then to address the default once it was

 3   entered. Setting aside the default would not prejudice Plaintiffs.

 4           (2)   As established throughout this brief, Bayer CropScience LLC has at least three
 5
     meritorious defenses: (1) the lack of personal jurisdiction, (2) the lack of service and applicability
 6
     of Rule 4(m), and (3) (on the merits) a complete lack of liability because Bayer CropScience LLC
 7
     did not design, manufacture, or sell the product at issue in this products liability case and is not
 8
     otherwise responsible for said product. “Therefore, this factor also weighs in favor of setting aside
 9

10   the entry of default.” See, e.g., Coen Co., 307 F.R.D. at 505 (finding alleged lack of personal

11   jurisdiction to be a meritorious defense).
12           (3)   A good faith belief that service was improper precludes any finding that a defendant’s
13
     non-appearance was culpable for purposes of the final factor. TCI Grp. Life Ins. Plan v. Knoebber,
14
     244 F.3d 691, 697–98 (9th Cir. 2001), overruled on other grounds by Egelhoff v. Egelhoff ex rel.
15
     Breiner, 532 U.S. 141 (2001). Bayer CropScience LLC has already demonstrated the basis for its
16

17   position that it was not properly served in this case. Moreover, through counsel, Bayer CropScience

18   LLC reached out to Plaintiffs prior to any arguable responsive-pleading deadline, provided

19   information regarding the background of this case and the identity of the proper defendant,
20   specifically informed them of the failure of service, and offered to address these issues
21
     cooperatively. This is a far cry from culpable misconduct. See TCI, 244 F.3d at 698 (“[W]e have
22
     typically held that a defendant’s conduct was culpable . . . where there is no explanation of the
23
     default inconsistent with a devious, deliberate, willful, or bad faith failure to respond.”). If anything,
24

25   the culpable misconduct occurred when Plaintiffs refused to communicate with Bayer CropScience

26   LLC, ignored information showing that service was improper, and sought a default based on a

27   distorted account of the record.
28                                           - 15 -
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             All three discretionary factors weigh in favor of setting aside the clerk’s default. If setting
 1

 2   aside the default is not required as a matter of law, it should be done as a discretionary matter. See,

 3   e.g., J & J Sports Prods., Inc. v. Nguyen, No. 5:11-CV-01166 EJD, 2011 WL 6294332, at *2 (N.D.

 4   Cal. Dec. 14, 2011).
 5
       II.     Rule 12(b)(2) Motion to Dismiss
 6           Personal jurisdiction represents the power of the court to render a binding judgment against
 7
     a party. See Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 918 (2011). The
 8
     United States Supreme Court has long recognized that the Due Process Clause of the United States
 9
     Constitution “operates to limit the power of a State to assert in personam jurisdiction over a
10
     nonresident defendant.” Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 413–14
11

12   (1984). “In an MDL case, personal jurisdiction is derived from the transferor court.” In re Telexfree

13   Sec. Litig., No. 4:14-MD-02566-TSH, 2019 WL 398126, at *1 (D. Mass. Jan. 29, 2019) (quoting In
14   re WellNx Mktg. & Sales Practices Litig., No. 07-MD-1861, 2010 WL 3652457, at *1 (D. Mass.
15
     Sept. 15, 2010), and collecting cases); see also In re Auto. Refinishing Paint Antitrust Litig., 358
16
     F.3d 288, 297 n.11 (3d Cir. 2004) (“[T]he transferee court can exercise personal jurisdiction to the
17
     same extent that the transferor court could.”).
18

19           Here, the transferor court’s authority to exercise jurisdiction is dictated by Ohio law, as

20   limited by constitutional due process requirements. See, e.g., Yahoo! Inc. v. La Ligue Contre Le

21   Racisme Et L’Antisemitisme, 433 F.3d 1199, 1205 (9th Cir. 2006). “Under Ohio law, personal
22   jurisdiction over non-resident defendants is available only if (1) the long-arm statute confers
23
     jurisdiction and (2) jurisdiction is proper under the Federal Due Process Clause.” Conn v. Zakharov,
24
     667 F.3d 705, 712 (6th Cir. 2012). “Nevertheless, in evaluating whether personal jurisdiction is
25
     proper under Ohio’s long-arm statute,” the Sixth Circuit has “consistently focused on whether there
26

27   are sufficient minimum contacts between the nonresident defendant and the forum state so as not to

28                                          - 16 -
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     offend ‘traditional notions of fair play and substantial justice.’” Bird v. Parsons, 289 F.3d 865, 871
 1

 2   (6th Cir. 2002) (quoting Calphalon Corp. v. Rowlette, 228 F.3d 718, 721 (6th Cir. 2000)). This

 3   focus on the constitutional bounds of due process makes particular sense in this case because, while

 4   not directly alleging any basis of establishing personal jurisdiction, Plaintiffs’ allegations implicate
 5
     the Ohio long-arm statute. See OHIO REV. CODE § 2307.382(A)(3) (permitting the exercise of
 6
     personal jurisdiction over a defendant’ who causes “tortious injury by an act or omission in this
 7
     state”).
 8
                Federal due process permits general personal jurisdiction over defendants that are “at home”
 9

10   in the forum state and specific personal jurisdiction over defendants whose suit-related conduct

11   creates a substantial connection to the forum state. Bristol-Myers Squibb Co. v. Super. Ct., 582 U.S.
12   255, 262 (2017). General personal jurisdiction allows a court to “hear any and all claims against”
13
     the defendant. Daimler AG v. Bauman, 571 U.S. 117, 127 (2014) (quoting Goodyear, 564 U.S. at
14
     919). “[S]pecific jurisdiction is confined to adjudication of issues deriving from, or connected with,
15
     the very controversy that establishes jurisdiction.” Bristol-Myers Squibb, 582 U.S. at 262 (quoting
16

17   Goodyear, 564 U.S. at 919).

18              At the pleading stage, when personal jurisdiction is challenged, plaintiffs cannot rely on

19   allegations controverted by a declaration. Ayla, LLC v. Alya Skin Pty. Ltd., 11 F.4th 972, 978 (9th
20   Cir. 2021) (“We ‘may not assume the truth of allegations in a pleading which are contradicted by
21
     affidavit.’”) (quoting Data Disc., Inc. v. Sys. Tech. Assocs., 557 F.2d 1280, 1284 (9th Cir. 1977));
22
     see also 28 U.S.C. § 1746 (permitting unsworn declarations in place of affidavits). As shown below,
23
     the Constitution does not permit courts in Ohio to exert personal jurisdiction over Bayer
24

25   CropScience LLC in this case.

26

27

28                                             - 17 -
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               A. The Court lacks general jurisdiction.
 1
            A court may exercise general jurisdiction over a corporation only if the “corporation’s
 2
     affiliations with the State in which the suit is brought are so constant and pervasive ‘as to render [it]
 3

 4   essentially at home in the forum State.’” Daimler, 671 U.S. at 122 (quoting Goodyear, 564 U.S. at

 5   919). This is generally limited to two places: (1) “the place of incorporation” and (2) “the principal

 6   place of business.” Id. at 137. Outside of those places, a corporation theoretically may still be “at
 7
     home” based on extensive affiliation with the forum state, but this would be “exceptional.” See id.
 8
     at 138, 139 n.19.
 9
            Bayer CropScience LLC is a Delaware limited liability company with its principal place of
10
     business in Missouri. Exh. 1, ¶¶ 5–6. Plaintiffs do not allege otherwise. See Compl., ¶ 11
11

12   (identifying Bayer CropScience LLC as “a Foreign Limited Liability Company with its principal

13   place of business” in Missouri). Nor do Plaintiffs otherwise allege that Bayer CropScience LLC is
14   somehow “at home” in Ohio. In fact, Bayer CropScience LLC has no presence in Ohio and is not
15
     even registered to do business there. See Exh. 1, ¶ 7. The Court thus lacks general jurisdiction over
16
     Bayer CropScience LLC.
17
               B. The Court lacks specific jurisdiction.
18
            Specific personal jurisdiction “focuses on the relationship among the defendant, the forum,
19
     and the litigation.” Walden v. Fiore, 571 U.S. 277, 283–84 (2014). “For a State to exercise
20

21   jurisdiction consistent with due process, the defendant’s suit-related conduct must create a

22   substantial connection with the forum State.” Id. at 284. Three things must be shown for specific

23   personal jurisdiction to be appropriate: (1) that Bayer CropScience LLC “purposefully avail[ed]
24   [it]self of the privilege of conducting business in [Ohio]” or “purposefully direct[ed] its activities”
25
     toward Ohio, (2) that Plaintiffs’ claims “arise out of” Bayer CropScience LLC’s Ohio-related
26
     activities, and (3) that “the exercise of jurisdiction . . . comport[s] with fair play and substantial
27

28                                          - 18 -
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     justice, i.e., it must be reasonable.” In re Boon Glob. Ltd., 923 F.3d 643, 651 (9th Cir. 2019) (quoting
 1

 2   Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 802 (9th Cir. 2004)). It is Plaintiffs’

 3   burden to establish the first two prongs of this test. Schwarzenegger, 374 F.3d at 802. If they could

 4   meet that burden, then it would be Bayer CropScience LLC’s burden to make a showing under the
 5
     third prong. Id. But Plaintiffs cannot satisfy either of the first two prongs, making the third
 6
     immaterial.
 7
            Plaintiffs cannot show that Bayer CropScience LLC purposely availed itself of the privilege
 8
     of conducting business in Ohio or purposefully directed its activities toward Ohio. As discussed
 9

10   above, Bayer CropScience LLC is not even authorized to do business in Ohio. Exh. 1, ¶ 7. While

11   Plaintiffs conclusorily allege that Bayer CropScience LLC distributed Roundup®-branded
12   herbicides in Ohio and “derived substantial revenue from goods and products used in the State of
13
     Ohio,” Compl., ¶ 14–20, these conclusory allegations must be disregarded in light of the contrary
14
     evidence, see Exh. 1, ¶ 12 (“Bayer CropScience LLC does not distribute, sell, or supply any products
15
     (including Roundup®-branded herbicides) in or to the State of Ohio.”); see also Ayla, LLC, 11 F.4th
16

17   at 978. Bayer CropScience is a non-operating holding company based in Missouri. Exh. 1, ¶ 9. It

18   is entirely unclear why Plaintiffs sued this entity and insisted on prosecuting claims against it when

19   informed of their mistake, but their decision to bring suit in Ohio against a defendant that has not
20   even purposely availed itself of the Ohio forum means they cannot possibly establish personal
21
     jurisdiction. See, e.g., Doe v. Am. Nat. Red Cross, 112 F.3d 1048, 1051 (9th Cir. 1997).
22
            Nor can Plaintiffs show that their claims arise out of or relate to Bayer CropScience LLC’s
23
     (nonexistent) Ohio activities. See id. Bayer CropScience LLC has essentially nothing to do with
24

25   Roundup®-branded herbicides. Monsanto Company—a distinct company—has undisputedly

26   manufactured and distributed Roundup®-branded products. But Bayer CropScience LLC does not

27   operate Monsanto Company (or any other company). Exh. 1, ¶ 9. It does not manufacture or sell
28                                           - 19 -
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     Roundup®-branded herbicides. Id. ¶ 11. It does not advertise Roundup®-branded herbicides. Id. It
 1

 2   does not research, design, develop, test, package, market, promote, distribute, label, or provide

 3   warnings for Roundup®-branded herbicides. Id.; see also Bristol-Myers Squibb Co., 582 U.S. at 359.

 4            No “suit-related conduct” by Bayer CropScience LLC “create[s] a substantial connection
 5
     with the forum State.” Walden, 571 U.S. at 283–84. Plaintiffs cannot show that their claims arise
 6
     out of Bayer CropScience LLC’s Ohio activities because those activities do not exist. And Plaintiffs
 7
     cannot even show that their claims arise out of Bayer CropScience LLC’s activities generally
 8
     because Bayer CropScience LLC has not performed any acts giving rise to Plaintiffs’ claims. Any
 9

10   contrary allegations must be disregarded, Ayla, LLC, 11 F.4th at 978, and specific jurisdiction is

11   absent for this additional reason, see Bristol-Myers Squibb Co., 582 U.S. at 264.
12     III.     Rule 12(b)(5) Motion to Dismiss
13
              Federal Rule of Civil Procedure 12(b)(5) authorizes a defendant to seek dismissal of an
14
     action for insufficient service of process. FED. R. CIV. P. 12(b)(5). The plaintiff bears the burden of
15
     establishing the validity of service under Federal Rules of Civil Procedure 4. Brockmeyer v. May,
16

17   383 F.3d 798, 801 (9th Cir. 2004). Generally, “[i]f a plaintiff is unable to satisfy this burden, the

18   court may exercise its discretion to either dismiss the action or retain the action and quash the service

19   of process.” Chang v. Beauchamp, No. 19-CV-07068-JSW, 2021 WL 667498, at *2 (N.D. Cal. Jan.
20   19, 2021), aff’d, No. 21-15293, 2022 WL 576022 (9th Cir. Feb. 25, 2022). That discretion is
21
     circumscribed, however, when the failure to achieve service is paired with a violation of Rule 4(m),
22
     which sets a 90-day deadline for achieving service:
23
                TIME LIMIT FOR SERVICE. If a defendant is not served within 90 days after the
24              complaint is filed, the court—on motion or on its own after notice to the plaintiff—
25              must dismiss the action without prejudice against that defendant or order that
                service be made within a specified time. But if the plaintiff shows good cause for
26              the failure, the court must extend the time for service for an appropriate period.

27   FED. R. CIV. P. 4(m).
28                                           - 20 -
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 1          Upon a showing of good cause, courts must extend service beyond 90 days. Efaw v.
 2   Williams, 473 F.3d 1038, 1040 (9th Cir. 2007). But courts do not allow “the good cause exception
 3   to swallow the rule.” Wei v. State of Hawaii, 763 F.2d 370, 372 (9th Cir. 1985). “Good cause
 4   generally means plaintiff attempted service but did not complete it; plaintiff was confused about the
 5   requirements of service; or plaintiff was prevented from serving defendants by factors beyond his
 6   control.” Television Signal Corp. v. City & Cnty. of San Francisco, 193 F.R.D. 645, 646 (N.D. Cal.
 7   2000), order clarified, No. C-99-2081-VRW, 2000 WL 1022962 (N.D. Cal. July 11, 2000).
 8          “In deciding whether to exercise its discretion to extend time for service in the absence of a
 9   finding of good cause, courts may consider (1) whether the applicable statute of limitations would
10   bar refiling if the action is dismissed; (2) whether the delay will prejudice defendant’s ability to
11   defend on the merits; (3) whether the defendant is evading service; and, (4) whether the defendant
12   has   concealed     a      defect   in   attempted   service.”   Patel   v.   Dameron    Hosp.,   No.
13   CIVS991275DFLPANPS, 2000 WL 35619441, at *5 (E.D. Cal. June 23, 2000). A Rule 4(m)
14   violation represents a failure to prosecute, and “[a] presumption of prejudice to defendants arise
15   from a failure to prosecute.” Id. at *6 (citing Hernandez v. City of El Monte, 138 F.3d 393, 401 (9th
16   Cir. 1998)). To rebut the presumption, the plaintiff must provide a “non-frivolous excuse for the
17   delay.” Id. But a long delay “weighs against granting an extension regardless of whether defendants
18   have shown any actual prejudice.” Id. at *6. Beyond the four factors identified in Patel, courts also
19   consider “whether service eventually was accomplished and, if so, how long after the [prescribed]
20   time period.” Id. at *5.
21             A. Plaintiffs failed to serve within the 90-day period required by Rule 4(m).

22          Bayer CropScience LLC has already shown above that it never received sufficient service

23   of process. See FED. R. CIV. P. 12(b)(5). Ordinarily, the question for the Court would be whether it

24   should exercise its discretion to dismiss the case or merely quash service. See Chang, 2021 WL
25   667498, at *2. But Plaintiffs have not merely failed to achieve service; they have also violated Rule
26
     4(m)’s service deadline. And they violated the deadline long before they ever even attempted
27

28                                          - 21 -
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     service. More than 90 days passed without service between the filing of the original Complaint and
 1

 2   the filing of the Amended Complaint. See Dkt. Nos. 1, 3 (105 days). And more than 90 days passed

 3   between the filing of the Amended Complaint and Plaintiffs’ first and only attempt to effectuate

 4   service on July 25, 2024. See Dkt. Nos. 3, 11 (178 days). The case was filed more than a year ago,
 5
     and Plaintiffs’ Rule 4(m) violation is ongoing.
 6
               B. Plaintiffs lacks good cause for their failure to timely serve Bayer CropScience
 7                LLC.
 8
            “[T]he next question is whether plaintiffs have established good cause for their failure to
 9
     comply with Rule 4(m).” Patel, 2000 WL 35619441, at *4. The burden of establishing good cause
10
     rests squarely on plaintiffs. Wei, 763 F.2d at 372. While Rule 4(m) mandates an extension of time
11
     upon a showing of good cause, Plaintiffs here cannot establish good cause.
12
            This is a case, like Wei, where the Plaintiffs cannot show attempted service, cognizable
13
     confusion, or that “factors beyond [their] control” prevented them from timely achieving service.
14
     See id. Plaintiffs did not even attempt service until 283 days after filing their Complaint. See Third
15
     World Media, LLC v. Does 1-1568, No. C 10-04470 LB, 2011 WL 4344160, at *1 (N.D. Cal. Sept.
16
     15, 2011) (recognizing that the Rule 4(m) deadline runs from the filing of an original, rather than
17
     amended, complaint). And “[t]here is no indication that defendant tried to evade service.” See
18
     Television Signal Corp., 193 F.R.D. at 646. To the contrary, after becoming aware of the defective
19
     service, Bayer CropScience LLC’s counsel offered to “address service later”—in conjunction with
20
     an effort to direct their counsel to the proper defendant. See Exh. 4. Because Plaintiffs did not even
21
     attempt to effectuate service until long after the deadline to do so had passed, they cannot possibly
22
     establish good cause. See id.
23
               C.    Plaintiffs lack good cause for failure to timely serve Monsanto.
24
            “[T]he next question is whether, despite their failure to show good cause for the delay,
25
     plaintiffs warrant a favorable exercise of discretion to extend the time for service by” the amount of
26

27

28                                            - 22 -
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 1   time that would be necessary to make service timely—here, more than 420 days and counting. See
 2   Patel, 2000 WL 35619441, at *5. All of the factors weigh against extending the service deadline.
 3          (1)    Running of the applicable statute of limitations? The applicable 2-year statute of
 4   limitations has expired. See OHIO REV. CODE § 2305.10(A); see also Am. Compl., ¶ 109 (alleging
 5   an October 17, 2022 diagnosis date). Nonetheless, the limitations-based factor does not weigh in
 6   favor of extending the service deadline. First, as shown above, this Court and courts in Ohio lack
 7   personal jurisdiction over Bayer CropScience LLC due to a lack of minimum contacts with Ohio.
 8   Second, Bayer CropScience LLC is not a proper defendant at all in case involving allegations of
 9   injuries resulting from exposure to Roundup®-branded herbicides. For these reasons, the statute of
10   limitations is just one of multiple reasons Plaintiffs’ claims against Bayer CropScience LLC cannot
11   proceed. Its expiration thus does not weigh in favor of an extension of the service deadline.
12          (2)    Prejudice to defendant? Plaintiffs’ failure to prosecute gives rise to “[a] presumption
13   of prejudice.” Patel, 2000 WL 35619441, at *5. Plaintiffs cannot rebut the presumption because
14   they cannot provide a “non-frivolous excuse for the delay.” Id. Additionally, the lengthy delay
15   “weighs against granting an extension regardless of whether defendants have shown any actual
16   prejudice.” Id. at *6. If there is not actual prejudice to Bayer CropScience LLC in this case, it is
17   only because this entity is simply an improper defendant that can establish a complete defense based
18   on the lack of personal jurisdiction and, on the merits, its lack of connection to the case. But that is
19   another reason to dismiss Plaintiffs’ case, not to allow them more time to serve this improper
20   defendant.
21          (3)    Service evasion? As established, Bayer CropScience LLC did not attempt to evade
22   service in this case. Instead, Plaintiffs violated Rule 4(m) long before they ever attempted service.
23          (4)    Concealment of a service defect? Bayer CropScience LLC did not conceal the defect
24   in the already-late June 25, 2024 service attempt. To the contrary, counsel for Bayer CropScience
25   LLC promptly notified Plaintiffs’ counsel of the defect and offered to address it in conjunction with
26   the concurrent effort to have Plaintiffs bring their claim against the proper defendant (Monsanto
27   Company). See Exh. 3. Plaintiffs also received a formal notice that service had been rejected. See
28                                          - 23 -
                  DEFENDANT BAYER CROPSCIENCE LLC’S RENEWED MOTION
                   TO SET ASIDE CLERK’S DEFAULT AND MOTION TO DISMISS
                              3:16-md-02741-VC & 3:24-cv-06751-VC
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 1   Exh. 5. Plaintiffs then acted in bad faith by ignoring the clear insufficiency of service in this case
 2   and seeking a default against a never-served improper defendant. This factor weighs heavily against
 3   granting Plaintiffs an extension now.
 4          (5)    Eventual service? To this day—more than a year after this case’s commencement—
 5   Plaintiffs have still not properly served Bayer CropScience LLC with process.8 See Patel, 2000 WL
 6   35619441, at *5. This additional factor weighs in favor of dismissal.
 7                                                   ~~~
 8         All of the factors weigh against granting Plaintiffs an extension of time in which to effectuate
 9   service. The case should, therefore, be dismissed pursuant to Rules 4(m) and 12(b)(5).
10                                             CONCLUSION
11          For the foregoing reasons, Bayer CropScience LLC respectfully requests that the Court set
12   aside the improper Entry of Default, dismiss this case for lack of personal jurisdiction and due to
13   improper service, and for such other and further relief as the Court deems just.
14
     DATED: December 11, 2024                             Respectfully submitted,
15
                                                          SHOOK, HARDY & BACON L.L.P.
16
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21
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22                                                            MONSANTO COMPANY

23   8
       On September 11, 2024, the undersigned received an email from Plaintiffs’ counsel, with a
     purported “Request for Waiver of Process.” See Email from Jared Brankamp to Ryan Killian (Sep.
24   11, 2024) (Exhibit 7).The email did not include either the summons or the complaint and instead
     consisted of a MS Word document bearing a “JUDICIAL PANEL ON MULTIDISTRICT
25   LITIGATION” caption and purporting to represent a waiver request pursuant to “Rule 4.7 of the
     Ohio Rules of Civil Procedure.” See id. Of course, the Ohio Rules of Civil Procedure do not apply,
26   and the document does not qualify as a valid request to waive service under Rule 4(d) of the Federal
     Rules of Civil Procedure. Specifically, it does not comply with, at a minimum subparagraphs (A),
27   (B), (C), and (D) of Rule 4(d)(1).
28                                          - 24 -
                  DEFENDANT BAYER CROPSCIENCE LLC’S RENEWED MOTION
                   TO SET ASIDE CLERK’S DEFAULT AND MOTION TO DISMISS
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